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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

CLIFFORD F. TUTTLE, JR.,                               §
REPRESENTATIVE OF THE ESTATE OF                        §
DENNIS W. TUTTLE, DECEASED, ROBERT                     §
TUTTLE, AND RYAN TUTTLE,                               §
                                                       §
        Plaintiffs                                     §
                                                       §
v.                                                     §       Civil Action No. 4:21-cv-00270
                                                       §
CITY OF HOUSTON, et al.,                               §
                                                       §
        Defendants.                                    §

                                                     AND

JOHN NICHOLAS, as temporary administrator              §
of the Estate of Rhogena Nicholas and JO ANN           §
NICHOLAS, individually and as an heir of the           §
Estate of Rhogena Nicholas,                            §
                                                       §
        Plaintiffs                                     §
                                                       §
v.                                                     §       Civil Action No. 4:21-cv-00272
                                                       §
CITY OF HOUSTON, et al.,                               §
                                                       §
        Defendants.                                    §

     DEFENDANT CITY OF HOUSTON’S RESPONSE TO PLAINTIFFS’ MOTION TO
           UNSEAL SUMMARY JUDGMENT RESPONSES AND EXHIBITS

        Pursuant to Federal Rule of Civil Procedure 5.2(d), Court Procedure 5(d), and the

Confidentiality Order (Dkt. 106 at ¶ C-6), Defendant City of Houston1 files this Response to

Plaintiffs’ Motion to Unseal the Summary Judgment Responses and Exhibits.



1
  Throughout this motion, “City” refers to Defendant City of Houston. “Plaintiffs” collectively
refers to the Nicholas Plaintiffs and the Tuttle Plaintiffs. “Nicholas Plaintiffs” refers to the current
Plaintiffs in the case originally filed as 4:21-cv-00272. “Tuttle Plaintiffs” refers to the current
Plaintiffs in the case originally filed as 4:21-cv-00270.
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          The City respectfully requests that the Court deny Plaintiffs’ request for the wholesale

unsealing of the Parties’ summary judgment briefing and exhibits until after the trial of this matter.

Maintaining these documents under seal is appropriate for three reasons:

             1. As outlined in the previously granted agreed motions to seal,2 the sealed documents
                relate to and would potentially interfere with an ongoing criminal case. When
                documents contain investigative materials related to an ongoing criminal
                investigation, Courts can and routinely do maintain those records under seal. See,
                e.g., Ambler v. Nissen, 2023 U.S. Dist. LEXIS 115628, 2023 WL 4375008, No.
                1:20-cv-1068-LY, at *6-7 (W.D. Tex. 2023) (citing Degen v. United States, 517
                U.S. 820, 827 (1996) (a “court can exercise discretion to manage the civil litigation
                to avoid interference with a criminal case”).

             2. Plaintiffs have held dozens of press conference related to various aspects of this
                case. Tellingly, the subject motion to unseal the briefing was filed a mere 30 days
                before the then scheduled trial of this case. Plaintiffs undeniable intention in filing
                its Motion to Unseal was to use the sealed documents in one or more press
                conferences to tell their side of the story. Such action presents serious risk of
                impacting the potential jury in this high-profile case. This risk remains even with
                the recent continuance. The Court can reserve judgment related to whether these
                materials should remain under seal after the trial of this matter. However, until
                trial, the summary judgement briefing and exhibits should be sealed to avoid further
                unnecessary impact on the potential jury. Flagg ex rel. Bond v. City of Detroit, 268
                F.R.D. 279, 295 (E.D. Mich. 2010) (finding good cause to maintain investigative
                files under seal given media attention).

             3. The reasons outlined in Defendants Nadeem Ashraf, Cedell Lovings, Frank
                Medina, Oscar Pardo, Clemente Reyna, Manuel Salazar, Eric Sepolio, Thomas
                Wood, and Robert Gonzales’s Response to Plaintiffs’ Motion.

                                           CONCLUSION

          The City respectfully requests the Court deny Plaintiffs’ Motion to Unseal the Summary

Judgment Responses and Exhibits, as the balance weighs in favor of nondisclosure of the confidential

information contained in the summary judgment briefing and confidential exhibits.




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    The City incorporates these motions by reference into this Response.
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Dated: November 11, 2024                           Respectfully submitted:

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                                                    ATTORNEYS FOR DEFENDANT
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was sent to all
counsel of record on this the 11th day of November 2024, pursuant to the Federal Rules of Civil
Procedure.

                                                          /s/ Alistair B. Dawson
                                                          Alistair B. Dawson



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